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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


DANIEL ARMENDARIZ,                )
                                  )
        Plaintiff,                )
                                  )           CIVIL ACTION NO.
        v.                        )            2:19cv1046-MHT
                                  )                 (WO)
COMMISSIONER DUNN,                )
et al.,                           )
                                  )
        Defendants.               )

                               JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) The          United     States        Magistrate       Judge's

recommendation (doc. no. 52) is adopted.

    (2) Plaintiff’s motion to dismiss defendant Ethan

Brand    as   a   party   to   this    action    (doc.   no.   47)     is

granted,      and     defendant       Brand     is   dismissed         and

terminated as a party to this action.

    No costs are taxed.
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    The clerk of the court is DIRECTED to enter this

document   on   the    civil     docket    as   a   final     judgment

pursuant   to   Rule   58   of    the   Federal     Rules    of   Civil

Procedure.

    This case is referred back to the United States

Magistrate Judge for further proceedings.

    DONE, this the 21st day of August, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
